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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 TODD DAVIDSON, WILBERT                           )
 WIGGINS, GEORGE DOUGLAS, JR.,                    )
 CHARLES MAGEE, DARON                             )
 THOMPSON, EUGENE SMITH,                          )
 GEORGE RODGERS, and KENTON                       )
 SMITH, on behalf of themselves and               )
 others similarly situated,                       )
                                                  )
                Plaintiffs,                       )
                                                  )        1:03-CV-1882-SEB-JPG
        vs.                                       )
                                                  )
 CITIZENS GAS & COKE UTILITY,                     )
                                                  )
                Defendant.                        )



                          ENTRY ON MOTION TO INTERVENE


        This matter is before the court on a Motion for Leave to Intervene

 (Document #344), filed on behalf of six employees of the Defendant, Citizens

 Gas & Coke Utility (“Citizens”).1 The proposed intervenors argue that they


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           In their reply brief, the putative intervening plaintiffs indicated that all but one are
 withdrawing their request to intervene. The sole individual still seeking to intervene, Michael
 Bralock, has submitted a new proposed complaint in intervention which, according to Bralock,
 parallels the claims of the current plaintiffs and does not expand those claims as did the proposed
 complaint in intervention originally filed with the Motion to Intervene. Our first reaction to this
 last minute change in both motion strategy and substance was not surprise; indeed it is entirely
 consistent with the way in which the case has been prosecuted from the start. Despite this well-
 engrained history of procedural abuses, our insistence that the appropriate rules be adhered to is
 not lessened: a reply brief is not the appropriate place to raise a new argument or to attempt to
 substantively modify the motion itself. Cf. James v. Sheahan, 137 F.3d 1003, 1008 (7th Cir.
 1998). We therefore will not address this new proposal for intervention. That said, the

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 should be allowed to intervene of right, pursuant to Fed.R.Civ.P. 24(a)(2), or, in

 the alternative, that they should be allowed to intervene permissively under

 Fed.R.Civ.P. 24(b). We find neither section of Rule 24 to apply and thus deny

 the motion.


        Permissive Intervention


        A request for permissive intervention under Fed.R.Civ.P. 24(b) is left to

 the discretion of the district court, which must look closely at among other

 things whether such intervention would unduly delay or prejudice the

 adjudication of the rights of the original parties. Heartwood, Inc. v. U.S. Forest

 Service, Inc., 316 F.3d 694, 701 (7th Cir. 2003). In this case, the answer to that

 inquiry is an undeniable “yes” - the addition of more plaintiffs would clearly

 result in undue delay and prejudice.


        This case has already consumed unjustified amounts of time in bringing

 it to a point of readiness for trial this coming summer. Discovery has been

 tortuous and the class certification process similarly protracted and

 contentious. Plaintiffs have been added and three amended complaints filed.

 Each side has submitted a summary judgment motion which remain pending.

 Allowing additional proposed plaintiffs to add their claims that clearly expand




 reasoning laid out in this entry would, though to a lesser degree, nonetheless apply to a single
 intervening plaintiff as well.

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 the issues beyond an attack on the WCA would necessarily require another

 round of discovery, assuming those claims survived a motion to dismiss. The

 addition of six additional plaintiffs would undoubtedly require the trial date to

 be extended once again. The existing parties are clearly prejudiced by further

 delay in bringing their three-year-old litigation to a conclusion. Further delay

 in bringing this matter to trial would, from the view of the other parties, invite

 an abuse of discretion by the court, which, by denying this motion, we hope

 and expect to avoid.


       Intervention of Right


       By exercising our discretion to deny permissive intervention, we do not

 avoid the need to examine as well whether, as a matter of law, the movants are

 entitled to intervene. Fed.R.Civ.P. 24(a) provides:

       Upon timely application anyone shall be permitted to intervene in
       an action: (1) when a statute of the United States confers an
       unconditional right to intervene; or (2) when the applicant claims
       an interest relating to the property or transaction which is the
       subject of the action and the applicant is so situated that the
       disposition of the action may as a practical matter impair or
       impede the applicant's ability to protect that interest, unless the
       applicant's interest is adequately represented by existing parties.


       As an initial matter, we do not view the putative intervenors’ claims to

 come within the mandatory categories set out in this rule. Even if they did and

 despite the guarantee of the right to intervene under the specified

 circumstances (e.g. “ . . . anyone shall be permitted . . .”), timeliness is still key.

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 “The purpose of the requirement is to prevent a tardy intervenor from derailing

 a lawsuit within sight of the terminal.” U.S. v. South Bend Community School

 Corp., 710 F.2d 394, 396 (7th Cir. 1983). And, while the determination is made

 as a matter of law, in deciding a motion under Fed.R.Civ.P. 24(a) there is a

 degree of discretion permitted in assessing whether the motion has been filed

 so far into the case that it is prejudicially late. Holland v. Sterling Enterprises,

 Inc., 777 F.2d 1288, 1293 (7th Cir. 1985). Here, we have no doubts that the

 putative intervenors’ delayed request should defeat their effort, especially in

 view of the fact, as Citizens has demonstrated, that all the proposed

 intervenors have known of this litigation for at least several months, some for

 nearly a year.


       The reasons cited above in our denial of permissive intervention apply

 equally here, with respect to the issue of timeliness. Further, the proposed

 intervenors have failed to demonstrate how the disposition of this case would

 foreclose their pursuit of their closely associated rights in an independent

 action. Shea v. Angulo, 19 F.3d 343 (7th Cir. 1994)(denial of intervention

 affirmed in part because prospective intervenor could not show that his

 interest was potentially impaired).




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       Conclusion


       For the reasons outlined above, the Motion for Leave to Intervene

 (Document #344) is DENIED.


       IT IS SO ORDERED 05/16/2006




                                                _______________________________
                                                 SARAH EVANS BARKER, JUDGE
                                                 United States District Court
                                                 Southern District of Indiana




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